                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

DONNA SCHUTTE,

               Plaintiff,
v.                                                  Case No.       21-CV-204
CIOX HEALTH, LLC,
ABC INSURANCE CO.,
PROHEALTH CARE, INC., and
DEF INSURANCE CO.,

               Defendants.


                                 NOTICE OF REMOVAL


       PLEASE TAKE NOTICE that Defendant Ciox Health, LLC (“Ciox”) hereby

removes this action from the Circuit Court for Waukesha County, Wisconsin, to the United

States District Court for the Eastern District of Wisconsin pursuant to 28 U.S.C. §§ 1446

and 1332(d) (the Class Action Fairness Act or “CAFA”). The grounds for removal of this

action are as follows:

       1.      On January 29, 2021, Donna Schutte (“Plaintiff”) commenced this action by

filing a Summons and Complaint (the “Complaint” or “Compl.”) in the Circuit Court for

Waukesha County, Wisconsin, Case No. 2021CV000172. In general, Plaintiff alleges that

Ciox charged patients of health care providers throughout Wisconsin (including, but not

limited to, ProHealth Care, Inc.) or their representatives fees for electronic copies of health

care records that Plaintiff asserts are not permitted by law, such as fees based on the number

of pages an electronic record would take up if printed and electronic archive fees. A true and




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correct copy of the Summons and Complaint, together with Ciox’s registered agent’s record

reflecting its service, is attached as Exhibit 1.

       2.      On February 8, 2021, Plaintiff served the Complaint on Ciox’s registered

agent, Corporation Service Company. (See Ex. 1 at 1.) This Notice of Removal is thus timely

under 28 U.S.C. § 1446(b)(3) because 30 days have not elapsed since Ciox received the

Complaint. (See Ex. 1 at 1.)

       3.      Plaintiff alleges that she brings this action on her own behalf and on behalf of

the members of a proposed class consisting of thousands of individuals and entities.

(Compl. ¶¶ 15-16)

       4.      Plaintiff alleges that Ciox is liable for actual damages and exemplary damages

of up to $25,000 per violation of Wis. Stat. § 146.83, pursuant to Wis. Stat § 146.84(1)(b) and

Wis. Stat. § 146.84(1)(bm). (See Compl. ¶ 26.)

       5.      Plaintiff alleges that Ciox is directly liable for charging purportedly unlawful

fees for medical records. (See, e.g., Compl. ¶¶ 2, 12, 25-27, 36, 41.)

       6.      Removal of this action to the United States District Court is proper

under 28 U.S.C. § 1441(a) and (b) because there is diversity of citizenship between

Plaintiff and Ciox and the amount in controversy exceeds $5,000,000. The United

States District Court would, therefore, have had original jurisdiction of this matter

under 28 U.S.C. § 1332(d) had the action been brought in federal court originally.

AT LEAST ONE PLAINTIFF IS A CITIZEN OF A DIFFERENT STATE THAN
                  AT LEAST ONE DEFENDANT.

       7.      Plaintiff is a citizen of the State of Wisconsin. (See Compl. ¶ 1.)



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       8.      Ciox is a limited liability company organized under the laws of Georgia with

its principal place of business in Alpharetta, Georgia. Thus, under 28 U.S.C. § 1332(d)(10), it

is considered to be a citizen solely of the State of Georgia. 1

       9.      Ciox’s sole member is Smart Holding Corp., a corporation organized under

the laws of the State of Delaware with its principal place of business in Alpharetta, Georgia.

Thus, even if 28 U.S.C. § 1332(d)(10) were inapplicable, Ciox would be a citizen of Delaware

and Georgia.

             THE AMOUNT IN CONTROVERSY EXCEEDS $5 MILLION

       10.     The amount in controversy in this case exceeds $5,000,000, exclusive of

interest and costs.

       11.     Plaintiff defined the proposed class as:

               Any, person or entity who:
                      1. Either:
                              a. Requested his or her own patient health care records, or gave
                      informed consent to another to obtain his or her own health care
                      records, from a health care provider in the State of Wisconsin; or
                              b. Had informed consent of the patient to request and obtain
                      the patient’s health care records from a health care provider in the
                      State of Wisconsin; and
                      2. Was charged by CIOX Health, LLC, either directly or indirectly,
               “paper copies” fees for electronic copies, electronic archive data fees, and
               other similar impermissible fees; and
                      3. Incurred and ultimately paid the “paper copies” fees for electronic
               copies, electronic archive data fees, and other similar impermissible fees.
               (Compl. ¶ 15.)


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    In what is likely an attempt to evade removal, the Complaint falsely alleges that Ciox’s principal
    place of business is in Green Bay, Wisconsin. (Compl. ¶ 2.) It is not; Ciox is headquartered in
    Alpharetta, Georgia.

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       12.     Plaintiff has alleged that each class member may be entitled to up to $25,000

in exemplary damages per violation. (See Compl. ¶ 26.)

       13.     It would only take 200 violations resulting in exemplary damages of $25,000

per violation to reach $5,000,000.

       14.     Ciox’s preliminary estimates indicate that thousands of requests per year, from

thousands of putative class members, meet this definition.

       15.     Plaintiff herself alleges that the class comprises “several thousand persons and

entities.” (Compl. ¶ 16.)

       16.     Thus, while Plaintiff did not limit the class by date, under any class period the

amount in controversy would far exceed $5 million, exclusive of interest and costs.

                NO EXCEPTION TO CAFA JURISDICTION APPLIES

       17.     The “local controversy” exception, 28 U.S.C. § 1332(d)(4)(A), does not apply

to this case because during the three-year period preceding the filing of this action, other

class actions asserting similar factual allegations have been alleged against both defendants.

Among other things, within the three-year period, putative class actions alleging improper

charges for medical records have been filed against ProHealth Care, Inc., in Wisconsin;

numerous putative class actions alleging improper charges for medical records in several

states, including challenging the practice of charging for electronic copies based on the

equivalent number of paper pages, have been filed against Ciox; and defendants in at least

two class actions filed in Wisconsin within the last three years impleaded Ciox as liable to

indemnify it in those class actions.




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       18.     The “home-state controversy” exception, 28 U.S.C. § 1332(d)(4)(B), does not

apply to this case because Ciox is a primary defendant and is not a citizen of Wisconsin.

                                               ⁂

       19.     Exhibit 1 contains true and correct copies of all process, pleadings, and orders

served upon Ciox.

       20.     Promptly after the filing of this Notice of Removal, Ciox will notify Plaintiffs

and the Clerk of the Circuit Court for Waukesha County that this case has been removed.

       Dated this 17th day of February, 2021.

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